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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FEDERAL TRADE COMMISSION,                          Case No. 23-cv-02880-JSC
                                                        Plaintiff,
                                   8
                                                                                            ORDER RE: OMNIBUS
                                                 v.                                         ADMINISTRATIVE MOTION TO
                                   9
                                                                                            SEAL EXHIBITS
                                  10     MICROSOFT CORPORATION, et al.,
                                                        Defendants.
                                  11

                                  12
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                                  13          This Order addresses all outstanding requests to seal the trial exhibits in this matter. On

                                  14   July 26, 2023, the Court resolved some of the parties’ sealing requests and ordered the parties to

                                  15   submit an omnibus motion addressing any outstanding issues related to trial exhibits. (Dkt. No.

                                  16   335.) Having reviewed the parties’ omnibus motion, the Court rules as set forth in Exhibit A.

                                  17          The parties shall meet and confer, and on or before September 14, 2023, Microsoft shall

                                  18   submit to the Court via a secure cloud link a copy of all the admitted exhibits with the redactions

                                  19   as set forth in this Order and the Court’s prior order (Dkt. No. 335).

                                  20          For those exhibits which were not admitted into evidence, they are not part of the record

                                  21   and shall not be uploaded with the admitted trial exhibits.

                                  22          This Order disposes of Docket No. 349.

                                  23          IT IS SO ORDERED.

                                  24   Dated: September 7, 2023

                                  25

                                  26
                                                                                                     JACQUELINE SCOTT CORLEY
                                  27                                                                 United States District Judge
                                  28
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                                                                                  EXHIBIT A1
                                   1
                                           Designating    Portions of            Reasons Proffered for Sealing                Ruling on
                                   2         Party         Exhibits                     (Dkt. No. 349)                         Motion
                                                         Requested to
                                   3                     be Sealed by
                                                         Designating
                                   4                         Party
                                           Activision    PX2094 in its       Contains non-public and highly sensitive        GRANTED.
                                   5                        entirety         information including, but not limited to,
                                                                                internal decision-making processes,
                                   6                                       investment decisions, strategic evaluation of
                                                                           forward-looking opportunities, market share
                                   7                                          analyses, assessment of the competitive
                                                                            landscape, business partnerships, terms of
                                   8                                         existing confidential agreements, revenue
                                                                                figures and projections, and internal
                                   9                                        presentations discussing business strategy,
                                                                            which could be used to injure Activision if
                                  10                                                  made publicly available.
                                           Activision    PX2138 in its       Contains non-public and highly sensitive        GRANTED.
                                  11                       entirety          information including, but not limited to,
                                                                                internal decision-making processes,
                                  12                                       investment decisions, strategic evaluation of
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                                                                           forward-looking opportunities, market share
                                  13                                          analyses, assessment of the competitive
                                                                            landscape, business partnerships, terms of
                                  14                                         existing confidential agreements, revenue
                                                                                figures and projections, and internal
                                  15                                        presentations discussing business strategy,
                                                                            which could be used to injure Activision if
                                  16                                                  made publicly available.
                                           Activision    PX2167 in its       Contains non-public and highly sensitive        GRANTED.
                                  17                       entirety          information including, but not limited to,
                                                                                internal decision-making processes,
                                  18                                       investment decisions, strategic evaluation of
                                                                           forward-looking opportunities, market share
                                  19                                          analyses, assessment of the competitive
                                                                            landscape, business partnerships, terms of
                                  20                                         existing confidential agreements, revenue
                                                                                figures and projections, and internal
                                  21                                        presentations discussing business strategy,
                                                                            which could be used to injure Activision if
                                  22                                                  made publicly available.
                                           Activision      Specified         Contains non-public and highly sensitive        GRANTED.
                                  23                      portions of        information including, but not limited to,
                                                           PX2133               internal decision-making processes,                .
                                  24                                       investment decisions, strategic evaluation of
                                                                              forward-looking opportunities, business
                                  25                                        partnerships, terms of existing confidential
                                                                                agreements, and revenue figures and
                                  26                                        projections, which could be used to injure
                                  27
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                                  28    To the extent the parties have revised the scope of the redactions requested, this Order
                                       supersedes any prior order regarding the scope of the allowable redactions.
                                                                                        2
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                                                                           Activision if made publicly available.
                                   1   Activision     Specified          Contains non-public and highly sensitive      GRANTED.
                                                     portions of         information including, but not limited to,
                                   2                  PX2421          internal decision-making processes, strategic
                                                                      evaluation of forward-looking opportunities,
                                   3                                     assessment of the competitive landscape,
                                                                       business partnerships, and terms of existing
                                   4                                 confidential agreements, which could be used
                                                                           to injure Activision if made publicly
                                   5                                                      available.
                                        Google        PX 8003:        Competitive interests warrant sealing details    GRANTED.
                                   6                  ¶2:10-11,      regarding Google’s financial investment in its
                                                       ¶15:10           Stadia business which, if disclosed, would
                                   7                                    reveal Google’s forward-looking business
                                                                            strategy, causing injury to Google.
                                   8    Google       PX8003: ¶9,       Competitive interests warrant sealing actual    GRANTED.
                                                    ¶20:1-2, ¶21:5   and forecasted user totals for Google’s Stadia
                                   9                                     service which, if disclosed, would reveal
                                                                      Google’s forward-looking business strategy,
                                  10                                             causing injury to Google.
                                        Google      PX8003: ¶21:8        Confidentiality and competitive interests     GRANTED.
                                  11                                    warrant sealing the identities of Google’s
                                                                       customers which, if disclosed, would harm
                                  12                                 Google’s ability to contract with third parties
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                                                                         and allow Google’s competitors to target
                                  13                                                  those customers.
                                        Google        Specified       Competitive interests warrant sealing details     DENIED as
                                  14                 portions of     of Google’s cloud-gaming service that would       moot because
                                                      PX7063            reveal Google’s forward-looking business         the exhibit
                                  15                                      practices, confidential negotiations, and        was not
                                                                       confidential employee information, causing      admitted into
                                  16                                                  injury to Google.                   evidence.
                                                                                                                       (Dkt. No. 335
                                  17                                                                                        at 2.)
                                        Google        Specified       Competitive interests warrant sealing details     DENIED as
                                  18                 portions of     regarding Google’s financial investment in its    moot because
                                                      PX3058           Stadia business which, if disclosed, could        the exhibit
                                  19                                   reveal Google’s forward-looking business            was not
                                                                          strategies, causing injury to Google.        admitted into
                                  20                                                                                      evidence.
                                                                                                                       (Dkt. No. 335
                                  21                                                                                        at 2.)
                                  22   Microsoft    PX0003 in its       Contains non-public and highly sensitive        GRANTED.
                                                      entirety          information including, but not limited to,
                                  23                                       internal decision-making processes,
                                                                     investment decisions, future business strategy,
                                  24                                  market share analyses, strategic evaluation of
                                                                      forward-looking opportunities, assessment of
                                  25                                        the competitive landscape, internal
                                                                      financial/revenue information or projections,
                                  26                                     internal user data, confidential terms of
                                                                         existing agreements, potential business
                                  27                                    partnerships/negotiations, which could be
                                                                      used to injure the designating parties if made
                                  28                                                publicly available.

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                                       Microsoft   PX0006 in its       Contains non-public and highly sensitive     GRANTED.
                                   1                 entirety          information including, but not limited to,
                                                                          internal decision-making processes,
                                   2                               investment decisions, future business strategy,
                                                                    market share analyses, strategic evaluation of
                                   3                                forward-looking opportunities, assessment of
                                                                           the competitive landscape, internal
                                   4                                financial/revenue information or projections,
                                                                        internal user data, confidential terms of
                                   5                                    existing agreements, potential business
                                                                       partnerships/negotiations, which could be
                                   6                                used to injure the designating parties if made
                                                                                   publicly available.
                                   7   Microsoft   PX0014 in its     This portion contains non-public and highly    GRANTED.
                                                     entirety           sensitive information including, but not
                                   8                                      limited to, internal decision-making
                                                                      processes, future business strategy, market
                                   9                                share analyses, assessment of the competitive
                                                                     landscape, which could be used to injure the
                                  10                               designating parties if made publicly available.
                                                                   This document is a confidential submission to
                                  11                                                    a regulator.
                                       Microsoft     Specified         Contains non-public and highly sensitive     GRANTED.
                                  12                portions of        information including, but not limited to,
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                                                     PX0038        investment decisions, future business strategy,
                                  13                                    strategic evaluation of forward-looking
                                                                        opportunities, internal financial/revenue
                                  14                                  information or projections, which could be
                                                                    used to injure the designating parties if made
                                  15                                               publicly available.
                                       Microsoft   PX1025 in its       Contains non-public and highly sensitive     GRANTED.
                                  16                 entirety          information including, but not limited to,
                                                                    internal decision-making processes, strategic
                                  17                                evaluation of forward-looking opportunities,
                                                                       internal financial/revenue information or
                                  18                                projections, which could be used to injure the
                                                                   designating parties if made publicly available.
                                  19   Microsoft   PX1065 in its       Contains non-public and highly sensitive     DENIED in
                                                     entirety          information including, but not limited to,   part as to the
                                  20                                      internal decision-making processes,          portions
                                                                   investment decisions, future business strategy, discussed in
                                  21                                market share analyses, strategic evaluation of open court on
                                                                    forward-looking opportunities, assessment of June 23, 2023
                                  22                                       the competitive landscape, internal      and as to the
                                                                    financial/revenue information or projections,     “Strategy
                                  23                                    internal user data, confidential terms of    Overview”
                                                                        existing agreements, potential business       Section on
                                  24                                   partnerships/negotiations, which could be   page PX1065-
                                                                    used to injure the designating parties if made       003,
                                  25                                                publicly available                excluding
                                                                                                                       specific
                                  26                                                                               numbers, due
                                                                                                                     to its use in
                                  27                                                                                this Court’s
                                                                                                                       opinion.
                                  28
                                                                                4
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                                       Microsoft     Specified        Contains non-public and highly sensitive       GRANTED.
                                   1                portions of       information including, but not limited to,
                                                     PX1070              future business strategy, market share
                                   2                                  analyses, strategic evaluation of forward-
                                                                       looking opportunities, assessment of the
                                   3                                  competitive landscape, potential business
                                                                      partnerships/negotiations, which could be
                                   4                                used to injure the designating parties if made
                                                                                   publicly available.
                                   5   Microsoft   PX1075 in its      Contains non-public and highly sensitive       GRANTED.
                                                     entirety         information including, but not limited to,
                                   6                                      internal decision-making processes,
                                                                      assessment of the competitive landscape,
                                   7                                  internal financial/revenue information or
                                                                    projections, which could be used to injure the
                                   8                               designating parties if made publicly available.
                                       Microsoft     Specified        Contains non-public and highly sensitive       GRANTED.
                                   9                portions of       information including, but not limited to,
                                                     PX1087         future business strategy, which could be used
                                  10                                   to injure the designating parties if made
                                                                                   publicly available.
                                  11   Microsoft   PX1102 in its      Contains non-public and highly sensitive       GRANTED.
                                                     entirety         information including, but not limited to,
                                  12                                      internal decision-making processes,
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                                                                   investment decisions, future business strategy,
                                  13                                  internal financial/revenue information or
                                                                      projections, confidential terms of existing
                                  14                                         agreements, potential business
                                                                      partnerships/negotiations, which could be
                                  15                                used to injure the designating parties if made
                                                                                   publicly available.
                                  16   Microsoft   PX1110 in its      Contains non-public and highly sensitive       GRANTED.
                                                     entirety         information including, but not limited to,
                                  17                                      internal decision-making processes,
                                                                   investment decisions, future business strategy,
                                  18                                market share analyses, strategic evaluation of
                                                                    forward-looking opportunities, assessment of
                                  19                                       the competitive landscape, internal
                                                                    financial/revenue information or projections,
                                  20                                    internal user data, confidential terms of
                                                                        existing agreements, potential business
                                  21                                  partnerships/negotiations, which could be
                                                                    used to injure the designating parties if made
                                  22                                                publicly available
                                       Microsoft     Specified        Contains non-public and highly sensitive       GRANTED.
                                  23                portions of       information including, but not limited to,
                                                     PX1136               internal decision-making processes,
                                  24                               investment decisions, future business strategy,
                                                                    market share analyses, strategic evaluation of
                                  25                                forward-looking opportunities, assessment of
                                                                           the competitive landscape, internal
                                  26                                financial/revenue information or projections,
                                                                        internal user data, confidential terms of
                                  27                                    existing agreements, potential business
                                                                      partnerships/negotiations, which could be
                                  28                                used to injure the designating parties if made
                                                                                   5
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                                                                                    publicly available.
                                   1   Microsoft   PX1145 in its       Contains non-public and highly sensitive     DENIED in
                                                     entirety          information including, but not limited to,   part as to the
                                   2                                        future business strategy, internal        portions
                                                                    financial/revenue information or projections,   discussed in
                                   3                               which could be used to injure the designating open court on
                                                                           parties if made publicly available.     June 23, 2023.
                                   4   Microsoft     Specified         Contains non-public and highly sensitive     GRANTED.
                                                    portions of        information including, but not limited to
                                   5                 PX1151            business partnerships and future business
                                                                      strategy which could be used to injure the
                                   6                               designating parties if made publicly available.
                                       Microsoft     Specified         Contains non-public and highly sensitive     GRANTED.
                                   7                portions of        information including, but not limited to
                                                     PX1154            business partnerships and future business
                                   8                                  strategy which could be used to injure the
                                                                   designating parties if made publicly available.
                                   9   Microsoft     Specified         Contains non-public and highly sensitive     GRANTED.
                                                    portions of        information including, but not limited to,
                                  10                 PX1240         detailed metrics used for analysis of gaming
                                                                         business, investment decisions, future
                                  11                                   business strategy, market share analyses,
                                                                       assessment of the competitive landscape,
                                  12                                   internal financial/revenue information or
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                                                                   projections, internal user data, which could be
                                  13                                used to injure the designating parties if made
                                                                                    publicly available.
                                  14   Microsoft     Specified         Contains non-public and highly sensitive     GRANTED.
                                                    portions of        information including, but not limited to,
                                  15                 PX1274         potential business partnerships/negotiations,
                                                                   which could be used to injure the designating
                                  16                                       parties if made publicly available.
                                       Microsoft     Specified         Contains non-public and highly sensitive     GRANTED.
                                  17                portions of        information including, but not limited to,
                                                     PX1275            assessment of the competitive landscape,
                                  18                               which could be used to injure the designating
                                                                           parties if made publicly available.
                                  19
                                       Microsoft     Specified         Contains non-public and highly sensitive     GRANTED.
                                  20                portions of        information including, but not limited to,
                                                     PX1283             strategic evaluation of forward-looking
                                  21                                 opportunities, which could be used to injure
                                                                        the designating parties if made publicly
                                  22                                                    available.
                                       Microsoft   PX1324 in its       Contains non-public and highly sensitive     GRANTED.
                                  23                 entirety          information including, but not limited to,
                                                                      internal decision-making processes, future
                                  24                                   business strategy, which could be used to
                                                                   injure the designating parties if made publicly
                                  25                                                    available.
                                       Microsoft   PX1425 in its       Contains non-public and highly sensitive     GRANTED.
                                  26                 entirety          information including, but not limited to,
                                                                             investment decisions, internal
                                  27                                financial/revenue information or projections,
                                                                   which could be used to injure the designating
                                  28                                       parties if made publicly available.

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                                       Microsoft   PX1471 in its       Contains non-public and highly sensitive       GRANTED.
                                   1                 entirety          information including, but not limited to,
                                                                              investment decisions, internal
                                   2                                financial/revenue information or projections,
                                                                    which could be used to injure the designating
                                   3                                       parties if made publicly available.
                                       Microsoft   PX1476 in its       Contains non-public and highly sensitive       GRANTED.
                                   4                 entirety          information including, but not limited to,
                                                                      future business strategy, assessment of the
                                   5                                 competitive landscape, which could be used
                                                                        to injure the designating parties if made
                                   6                                                publicly available.
                                       Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                   7                portions of        information including, but not limited to,
                                                     PX1516         detailed metrics used for analysis of gaming
                                   8                                     business, investment decisions, future
                                                                       business strategy, market share analyses,
                                   9                                   assessment of the competitive landscape,
                                                                       internal financial/revenue information or
                                  10                               projections, internal user data, which could be
                                                                    used to injure the designating parties if made
                                  11                                                publicly available.
                                       Microsoft   PX1517 in its       Contains non-public and highly sensitive       GRANTED.
                                  12                 entirety          information including, but not limited to,
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                                                                    future business strategy, strategic evaluation
                                  13                                  of forward-looking opportunities, internal
                                                                    financial/revenue information or projections,
                                  14                                which could be used to injure the designating
                                                                           parties if made publicly available.
                                  15   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                  16                 PX1529             investment decisions, potential business
                                                                      partnerships/negotiations, which could be
                                  17                                used to injure the designating parties if made
                                                                                    publicly available
                                  18   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                  19                 PX1538              future business strategy, market share
                                                                       analyses, strategic evaluation of forward-
                                  20                                    looking opportunities, assessment of the
                                                                       competitive landscape, potential business
                                  21                                  partnerships/negotiations, which could be
                                                                    used to injure the designating parties if made
                                  22                                                publicly available.
                                       Microsoft   PX1571 in its       Contains non-public and highly sensitive       GRANTED.
                                  23                 entirety          information including, but not limited to,
                                                                       assessment of the competitive landscape,
                                  24                                which could be used to injure the designating
                                                                           parties if made publicly available.
                                  25
                                       Microsoft   PX1603 in its       Contains non-public and highly sensitive       GRANTED.
                                  26                 entirety          information including, but not limited to,
                                                                   future business strategy and internal user data,
                                  27                                which could be used to injure the designating
                                                                           parties if made publicly available.
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                                       Microsoft   PX1613 in its       Contains non-public and highly sensitive    GRANTED.
                                   1                 entirety          information including, but not limited to,
                                                                       assessment of the competitive landscape,
                                   2                                which could be used to injure the designating
                                                                            parties if made publicly available
                                   3   Microsoft   PX1624 in its       Contains non-public and highly sensitive    GRANTED.
                                                     entirety          information including, but not limited to,
                                   4                                       internal decision-making processes,
                                                                       investment decisions, and future business
                                   5                                  strategy, which could be used to injure the
                                                                   designating parties if made publicly available.
                                   6   Microsoft   PX1747 in its       Contains non-public and highly sensitive    GRANTED.
                                                     entirety          information including, but not limited to,
                                   7                                    internal financial/revenue information or
                                                                    projections, which could be used to injure the
                                   8                               designating parties if made publicly available.
                                       Microsoft     Specified         Contains non-public and highly sensitive    GRANTED.
                                   9                portions of        information including, but not limited to,
                                                     PX1763                internal decision-making processes,
                                  10                               investment decisions, future business strategy,
                                                                         strategic evaluation of forward-looking
                                  11                                    opportunities, internal financial/revenue
                                                                     information or projections, which could be
                                  12                                used to injure the designating parties if made
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                                                                                     publicly available
                                  13   Microsoft     Specified         Contains non-public and highly sensitive    GRANTED.
                                                    portions of        information including, but not limited to,
                                  14                 PX1777               future business strategy, market share
                                                                       analyses, strategic evaluation of forward-
                                  15                                    looking opportunities, assessment of the
                                                                       competitive landscape, potential business
                                  16                                   partnerships/negotiations, which could be
                                                                    used to injure the designating parties if made
                                  17                                                 publicly available.
                                       Microsoft   PX1828 in its       Contains non-public and highly sensitive    GRANTED.
                                  18                 entirety          information including, but not limited to,
                                                                      internal decision-making processes, future
                                  19                                          business strategy, and internal
                                                                    financial/revenue information or projections,
                                  20                                which could be used to injure the designating
                                                                            parties if made publicly available.
                                  21   Microsoft   PX1877 in its       Contains non-public and highly sensitive    GRANTED.
                                                     entirety          information including, but not limited to,
                                  22                               internal decision-making processes and future
                                                                       business strategy, which could be used to
                                  23                               injure the designating parties if made publicly
                                                                                         available.
                                  24
                                       Microsoft   PX1889 in its       Contains non-public and highly sensitive    GRANTED.
                                  25                 entirety           information including, but not limited to
                                                                         strategic evaluation of forward-looking
                                  26                                 opportunities, which could be used to injure
                                                                          Microsoft if made publicly available.
                                  27   Microsoft   PX1897 in its       Contains non-public and highly sensitive     DENIED.
                                                     entirety          information including, but not limited to,  Discussed at
                                  28                               future business strategy and assessment of the length in open

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                                                                     competitive landscape, which could be used      court on June
                                   1                                     to injure the designating parties if made     23, 2023.
                                                                                     publicly available.
                                   2   Microsoft     Specified          Contains non-public and highly sensitive     GRANTED.
                                                    portions of         information including, but not limited to,
                                   3                 PX1949              strategic evaluation of forward-looking
                                                                     opportunities, assessment of the competitive
                                   4                                 landscape, which could be used to injure the
                                                                   designating parties if made publicly available.
                                   5   Microsoft     Specified          Contains non-public and highly sensitive     GRANTED.
                                                    portions of         information including, but not limited to,
                                   6                 PX1950         future business strategy, which could be used
                                                                         to injure the designating parties if made
                                   7                                                 publicly available.
                                       Microsoft     Specified          Contains non-public and highly sensitive     GRANTED.
                                   8                portions of         information including, but not limited to,
                                                     PX1951            internal decision-making processes, future
                                   9                                    business strategy, strategic evaluation of
                                                                     forward-looking opportunities, internal user
                                  10                                    data, and potential business partnerships,
                                                                    which could be used to injure the designating
                                  11                                        parties if made publicly available.
                                       Microsoft     Specified          Contains non-public and highly sensitive     GRANTED.
                                  12                portions of         information including, but not limited to,
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                                                     PX1966        investment decisions, future business strategy,
                                  13                                    internal financial/revenue information or
                                                                       projections, confidential terms of existing
                                  14                                          agreements, potential business
                                                                        partnerships/negotiations, which could be
                                  15                                used to injure the designating parties if made
                                                                                     publicly available.
                                  16   Microsoft     Specified          Contains non-public and highly sensitive     GRANTED.
                                                    portions of         information including, but not limited to,
                                  17                 PX3109           terms of proposed confidential agreements,
                                                                       which could be used to injure Microsoft if
                                  18                                             made publicly available.
                                       Microsoft     Specified          Contains non-public and highly sensitive     GRANTED.
                                  19                portions of         information including, but not limited to,
                                                     PX4005              strategic evaluation of forward-looking
                                  20                                 opportunities, confidential terms of existing
                                                                              agreements, potential business
                                  21                                partnerships/negotiations, and evaluation of a
                                                                      third-party partner, which could be used to
                                  22                               injure the designating parties if made publicly
                                                                                         available.
                                  23
                                       Microsoft   PX4028 in its        Contains non-public and highly sensitive     GRANTED.
                                  24                 entirety           information including, but not limited to,
                                                                       internal decision-making processes, future
                                  25                                          business strategy, and internal
                                                                    financial/revenue information or projections,
                                  26                                which could be used to injure the designating
                                                                            parties if made publicly available.
                                  27   Microsoft   PX4029 in its        Contains non-public and highly sensitive     GRANTED.
                                                     entirety           information including, but not limited to,
                                  28                                       internal decision-making processes,

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                                                                       investment decisions, and future business
                                   1                                  strategy, which could be used to injure the
                                                                   designating parties if made publicly available.
                                   2   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                   redactions of       information including, but not limited to,
                                   3                 PX4066              internal decision-making processes, and
                                                                    future business strategy, which could be used
                                   4                                     to injure the designating parties if made
                                                                                      publicly available.
                                   5   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of         information including, but not limited to
                                   6                 PX4157               strategic evaluation of forward-looking
                                                                     opportunities, which could be used to injure
                                   7                                        Microsoft if made publicly available
                                       Microsoft   PX4267 in its       Contains non-public and highly sensitive       GRANTED.
                                   8                 entirety          information including, but not limited to,
                                                                      internal decision-making processes, which
                                   9                               could be used to injure the designating parties
                                                                                 if made publicly available.
                                  10   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                  11                 PX4303                 internal decision-making processes,
                                                                   investment decisions, future business strategy,
                                  12                                      strategic evaluation of forward-looking
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                                                                        opportunities, internal financial/revenue
                                  13                                 information or projections, which could be
                                                                    used to injure the designating parties if made
                                  14                                                  publicly available.
                                       Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                  15                portions of        information including, but not limited to,
                                                     PX4334                 internal decision-making processes,
                                  16                               investment decisions, future business strategy,
                                                                        internal financial/revenue information or
                                  17                                   projections, confidential terms of existing
                                                                               agreements, potential business
                                  18                                   partnerships/negotiations, which could be
                                                                    used to injure the designating parties if made
                                  19                                    publicly available. Microsoft previously
                                                                    sought in camera treatment for this exhibit at
                                  20                                  ECF No. 261, and now seeks redactions in
                                                                       light of its use at the evidentiary hearing.
                                  21   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                  22                 PX4341         confidential revenue figures and projections,
                                                                    which could be used to injure the designating
                                  23                                         parties if made publicly available.
                                  24   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                  25                 PX4344         confidential revenue figures and projections,
                                                                    which could be used to injure the designating
                                  26                                         parties if made publicly available.
                                       Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                  27                portions of        information including, but not limited to,
                                                     PX4351         business partnerships, which could be used to
                                  28                               injure the designating parties if made publicly

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                                                                                          available.
                                   1   Microsoft   PX4430 in its       Contains non-public and highly sensitive       GRANTED.
                                                     entirety          information including, but not limited to,
                                   2                                   internal financial/revenue information or
                                                                   projections and confidential terms of existing
                                   3                               agreements, which could be used to injure the
                                                                   designating parties if made publicly available.
                                   4   Microsoft   PX4505 in its       Contains non-public and highly sensitive       GRANTED.
                                                     entirety          information including, but not limited to,
                                   5                               future business strategy and assessment of the
                                                                     competitive landscape, which could be used
                                   6                                    to injure the designating parties if made
                                                                                      publicly available.
                                   7   Microsoft   PX4629 in its       Contains non-public and highly sensitive       GRANTED.
                                                     entirety          information including, but not limited to,
                                   8                                   assessment of the competitive landscape
                                                                   which could be used to injure the designating
                                   9                                         parties if made publicly available.
                                       Microsoft   PX4647 in its       Contains non-public and highly sensitive       GRANTED.
                                  10                 entirety          information including, but not limited to,
                                                                            internal decision-making processes,
                                  11                               assessment of the competitive landscape, and
                                                                       internal financial/revenue information or
                                  12                               projections, which could be used to injure the
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                                                                   designating parties if made publicly available.
                                  13   Microsoft   PX4673 in its       Contains non-public and highly sensitive       GRANTED.
                                                     entirety          information including, but not limited to,
                                  14                                       future business strategy and internal
                                                                    financial/revenue information or projections,
                                  15                               which could be used to injure the designating
                                                                             parties if made publicly available.
                                  16   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                  17                 PX4695               future business strategy, market share
                                                                       analyses, strategic evaluation of forward-
                                  18                                    looking opportunities, assessment of the
                                                                       competitive landscape, potential business
                                  19                                 partnerships/negotiations, presented under a
                                                                      non-disclosure agreement, which could be
                                  20                                used to injure the designating parties if made
                                                                         publicly available. This document was
                                  21                                mistakenly described as a “webpage” on the
                                                                         FTC’s exhibit list, but it is not a public
                                  22                                        document. It is a confidential Xbox
                                                                                         presentation.
                                  23
                                       Microsoft   PX5000 in its      This expert report contains non-public and      GRANTED.
                                  24                 entirety         highly sensitive information including, but
                                                                        not limited to, internal decision-making
                                  25                                     processes, investment decisions, future
                                                                       business strategy, market share analyses,
                                  26                                     strategic evaluation of forward-looking
                                                                    opportunities, assessment of the competitive
                                  27                                       landscape, internal financial/revenue
                                                                   information or projections, internal user data,
                                  28                                  confidential terms of existing agreements,
                                                                    potential business partnerships/negotiations,
                                                                                     11
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                                                                   which could be used to injure the designating
                                   1                                        parties if made publicly available.
                                                                   Additionally, each of the expert reports in this
                                   2                                    matter contain confidential information
                                                                   submitted by numerous third parties who are
                                   3                               not able to view the full reports to determine
                                                                     what of their information should be sealed.
                                   4                                  Accordingly, Microsoft requests that the
                                                                   Court grant continued in camera treatment to
                                   5                                                 the expert reports.
                                       Microsoft     Specified           Portions of this investigative hearing       GRANTED.
                                   6                portions of        transcript contain non-public and highly
                                                     PX7011            sensitive information, including, but not
                                   7                                      limited to, internal decision-making
                                                                      processes, investment decisions, strategic
                                   8                               evaluation of forward-looking opportunities,
                                                                      market share analyses, assessment of the
                                   9                                      competitive landscape, and internal
                                                                   discussions of business strategy, which could
                                  10                                be used to injure Microsoft if made publicly
                                                                                         available.
                                  11   Microsoft     Specified           Portions of this investigative hearing       GRANTED.
                                                    portions of        transcript contain non-public and highly
                                  12                 PX7014            sensitive information, including, but not
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                                                                          limited to, internal decision-making
                                  13                                  processes, investment decisions, strategic
                                                                   evaluation of forward-looking opportunities,
                                  14                                  market share analyses, assessment of the
                                                                          competitive landscape, and internal
                                  15                               discussions of business strategy, which could
                                                                    be used to injure Microsoft if made publicly
                                  16                                                     available.
                                       Microsoft     Specified     Portions of this deposition transcript contains    GRANTED.
                                  17                portions of     non-public and highly sensitive information,
                                                     PX7046              including, but not limited to, internal
                                  18                                    decision-making processes, investment
                                                                     decisions, strategic evaluation of forward-
                                  19                               looking opportunities, market share analyses,
                                                                   assessment of the competitive landscape, and
                                  20                                  internal discussions of business strategy,
                                                                     which could be used to injure Microsoft if
                                  21                                             made publicly available.
                                       Microsoft     Specified        Contains non-public and highly sensitive        GRANTED.
                                  22                portions of       information including, but not limited to,
                                                     RX1080        revenue figures and projections, which could
                                  23                                 be used to injure the designating parties if
                                                                                 made publicly available.
                                  24   Microsoft   RX1105 in its      Contains non-public and highly sensitive        GRANTED.
                                                     entirety         information including, but not limited to,
                                  25                                investment decisions, strategic evaluation of
                                                                           forward-looking opportunities, and
                                  26                                  assessment of the competitive landscape,
                                                                   which could be used to injure the designating
                                  27                                        parties if made publicly available.
                                       Microsoft    Specified         Contains non-public and highly sensitive        GRANTED.
                                  28                portion of        information including, but not limited to,
                                                                                    12
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                                                     RX1120           forward-looking opportunities and internal
                                   1                                 discussion of business strategy, which could
                                                                       be used to injure the designating parties if
                                   2                                             made publicly available.
                                       Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                   3                portions of        information including, but not limited to,
                                                     RX1128         revenue figures and projections, which could
                                   4                                   be used to injure the designating parties if
                                                                                 made publicly available.
                                   5   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                   6                 RX1133              strategic evaluation of forward-looking
                                                                         opportunities and internal discussion of
                                   7                                   business strategy, which could be used to
                                                                   injure the designating parties if made publicly
                                   8                                                     available
                                       Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                   9                portions of        information including, but not limited to,
                                                     RX1137               future business strategy, market share
                                  10                                   analyses, strategic evaluation of forward-
                                                                        looking opportunities, assessment of the
                                  11                                          competitive landscape, internal
                                                                    financial/revenue information or projections,
                                  12                                              and potential business
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                                                                       partnerships/negotiations, which could be
                                  13                                used to injure the designating parties if made
                                                                                     publicly available.
                                  14   Microsoft   RX1140 in its       Contains non-public and highly sensitive       GRANTED.
                                                     entirety          information including, but not limited to,
                                  15                                 investment decisions, strategic evaluation of
                                                                    forward-looking opportunities, assessment of
                                  16                                     the competitive landscape, and internal
                                                                    financial/revenue information or projections,
                                  17                                which could be used to injure the designating
                                                                            parties if made publicly available.
                                  18   Microsoft     Specified         Contains non-public and highly sensitive       GRANTED.
                                                    portions of        information including, but not limited to,
                                  19                 RX1154                internal decision-making processes,
                                                                   investment decisions, future business strategy,
                                  20                                 potential business partnerships/negotiations,
                                                                    which could be used to injure the designating
                                  21                                        parties if made publicly available.
                                       Microsoft   RX1211 in its       Contains non-public and highly sensitive       GRANTED.
                                  22                 entirety           information including, but not limited to
                                                                   confidential terms of existing agreements, and
                                  23                                 potential business partnerships/negotiations,
                                                                    which could be used to injure the designating
                                  24                                 parties if made publicly available. Although
                                                                    the existence of the agreement is public (and
                                  25                                      was cited in the Court’s opinion), the
                                                                    agreement itself remains highly confidential.
                                  26
                                       Microsoft   RX1212 in its       Contains non-public and highly sensitive       GRANTED.
                                  27                 entirety           information including, but not limited to
                                                                   confidential terms of existing agreements, and
                                  28                                 potential business partnerships/negotiations,
                                                                    which could be used to injure the designating
                                                                                    13
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                                                                    parties if made publicly available. Although
                                   1                                the existence of the agreement is public (and
                                                                         was cited in the Court’s opinion), the
                                   2                                agreement itself remains highly confidential.
                                       Microsoft   RX1245 in its      Contains non-public and highly sensitive       GRANTED.
                                   3                 entirety          information including, but not limited to
                                                                   confidential terms of existing agreements, and
                                   4                                potential business partnerships/negotiations,
                                                                   which could be used to injure the designating
                                   5                                parties if made publicly available. Although
                                                                    the existence of the agreement is public (and
                                   6                                     was cited in the Court’s opinion), the
                                                                    agreement itself remains highly confidential.
                                   7   Microsoft   RX2170 in its      Contains non-public and highly sensitive       GRANTED.
                                                     entirety          information including, but not limited to
                                   8                               confidential terms of existing agreements, and
                                                                    potential business partnerships/negotiations,
                                   9                               which could be used to injure the designating
                                                                    parties if made publicly available. Although
                                  10                                the existence of the agreement is public (and
                                                                         was cited in the Court’s opinion), the
                                  11                                agreement itself remains highly confidential.
                                       Microsoft   RX3024 in its      Contains non-public and highly sensitive       GRANTED.
                                  12                 entirety          information including, but not limited to
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                                                                   confidential terms of existing agreements, and
                                  13                                potential business partnerships/negotiations,
                                                                   which could be used to injure the designating
                                  14                                parties if made publicly available. Although
                                                                    the existence of the agreement is public (and
                                  15                                     was cited in the Court’s opinion), the
                                                                    agreement itself remains highly confidential.
                                  16   Microsoft   RX3025 in its      Contains non-public and highly sensitive       GRANTED.
                                                     entirety          information including, but not limited to
                                  17                               confidential terms of existing agreements, and
                                                                    potential business partnerships/negotiations,
                                  18                               which could be used to injure the designating
                                                                    parties if made publicly available. Although
                                  19                                the existence of the agreement is public (and
                                                                         was cited in the Court’s opinion), the
                                  20                                agreement itself remains highly confidential.
                                       Microsoft   RX3027 in its      Contains non-public and highly sensitive       GRANTED.
                                  21                 entirety          information including, but not limited to
                                                                   confidential terms of existing agreements, and
                                  22                                potential business partnerships/negotiations,
                                                                   which could be used to injure the designating
                                  23                                parties if made publicly available. Although
                                                                    the existence of the agreement is public (and
                                  24                                     was cited in the Court’s opinion), the
                                                                    agreement itself remains highly confidential.
                                  25   Microsoft     Specified        Contains non-public and highly sensitive       GRANTED.
                                                    portions of       information including, but not limited to,
                                  26                 RX3166           internal presentations discussing business
                                                                     strategy, which could be used to injure the
                                  27                                    designating if made publicly available.
                                  28   Microsoft     Specified        Contains non-public and highly sensitive       GRANTED.
                                                    portions of    information including, but not limited to sales
                                                                                  14
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                                                     RX5046        data and trends, which could be used to injure
                                   1                                     Microsoft if made publicly available.
                                       Microsoft     Specified        Contains non-public and highly sensitive        GRANTED.
                                   2                portions of       information including, but not limited to,
                                                     RX5054           market share analyses, assessment of the
                                   3                                competitive landscape, which could be used
                                                                       to injure the designating parties if made
                                   4                                                publicly available.
                                       Microsoft   RX5055 in its     This expert report contains non-public and       GRANTED.
                                   5                 entirety        highly sensitive information including, but
                                                                       not limited to, internal decision-making
                                   6                                    processes, investment decisions, future
                                                                      business strategy, market share analyses,
                                   7                                   strategic evaluation of forward-looking
                                                                    opportunities, assessment of the competitive
                                   8                                     landscape, internal financial/revenue
                                                                   information or projections, internal user data,
                                   9                                 confidential terms of existing agreements,
                                                                    potential business partnerships/negotiations,
                                  10                               which could be used to injure the designating
                                                                           parties if made publicly available.
                                  11                               Additionally, each of the expert reports in this
                                                                       matter contain confidential information
                                  12                                submitted by numerous third parties who are
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                                                                    not able to view the full reports to determine
                                  13                                 what of their information should be sealed.
                                                                      Accordingly, Microsoft requests that the
                                  14                                Court grant continued in camera treatment to
                                                                                    the expert reports.
                                  15   Microsoft   RX5056 in its     This expert report contains non-public and       GRANTED.
                                                     entirety        highly sensitive information including, but
                                  16                                   not limited to, internal decision-making
                                                                        processes, investment decisions, future
                                  17                                  business strategy, market share analyses,
                                                                       strategic evaluation of forward-looking
                                  18                                opportunities, assessment of the competitive
                                                                         landscape, internal financial/revenue
                                  19                               information or projections, internal user data,
                                                                     confidential terms of existing agreements,
                                  20                                potential business partnerships/negotiations,
                                                                   which could be used to injure the designating
                                  21                                       parties if made publicly available.
                                                                   Additionally, each of the expert reports in this
                                  22                                   matter contain confidential information
                                                                    submitted by numerous third parties who are
                                  23                                not able to view the full reports to determine
                                                                     what of their information should be sealed.
                                  24                                  Accordingly, Microsoft requests that the
                                                                    Court grant continued in camera treatment to
                                  25                                                the expert reports.
                                       Nintendo    PX3218 in its     This exhibit is a sensitive and confidential     GRANTED.
                                  26                 entirety            email between Nintendo and content
                                                                   publishers/ providers, including Microsoft and
                                  27                                Activision, to discuss and negotiate business
                                                                     deals. Disclosing these discussions would
                                  28                                 allow competitors to leverage confidential
                                                                                   15
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                                                                     negotiation points in future negotiations with
                                   1                                       Nintendo that would adversely affect
                                                                             Nintendo’s negotiation position.
                                   2   Nintendo      Specified      Contains a draft agreement between Nintendo       GRANTED.
                                                    portions of      and Microsoft, including proposed edits and
                                   3                 PX3225                redlines. Such information is highly
                                                                        confidential as it reveals the negotiation
                                   4                                  process for a contractual agreement. Public
                                                                     disclosure would result in competitive harm
                                   5                                        to Nintendo as competitors would
                                                                    undoubtedly use such information in potential
                                   6                                        future negotiations with Nintendo.
                                       Nintendo      Specified      Contains a draft agreement between Nintendo       GRANTED.
                                   7                portions of      and Microsoft, including proposed edits and
                                                     PX3233                redlines. Such information is highly
                                   8                                    confidential as it reveals the negotiation
                                                                      process for a contractual agreement. Public
                                   9                                 disclosure would result in competitive harm
                                                                            to Nintendo as competitors would
                                  10                                undoubtedly use such information in potential
                                                                            future negotiations with Nintendo.
                                  11   Nintendo    PX 3234 in its      This exhibit is a sensitive and confidential   GRANTED.
                                                     entirety              email between Nintendo and content
                                  12                                publishers/ providers, including Microsoft and
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                                                                     Activision, to discuss and negotiate business
                                  13                                   deals. Disclosing these discussions would
                                                                       allow competitors to leverage confidential
                                  14                                 negotiation points in future negotiations with
                                                                           Nintendo that would adversely affect
                                  15                                         Nintendo’s negotiation position.
                                       Nintendo      Internal        All of Nintendo’s exhibits referenced above      GRANTED.
                                  16                Nintendo          contain internal Nintendo email addresses.
                                                  employee email    There is no public interest in such information
                                  17                addresses         and therefore no legitimate need for it to be
                                                                                    publicly disclosed.
                                  18     Sony        Specified        This exhibit contains non-public and highly     GRANTED.
                                                    portions of     sensitive information about Sony negotiations
                                  19                 RX0020           with third party partners and discussions of
                                                                         particular contract terms with particular
                                  20                                partners negotiations with third party partners
                                                                      and discussions of particular contract terms
                                  21                                             with particular partners.
                                         Sony        Specified        This exhibit contains non-public and highly     GRANTED.
                                  22                portions of       sensitive information about SIE’s business
                                                     RX0075          strategies, competitive business plans, future
                                  23                                      investment plans, console and product
                                                                       development plans, product roadmaps, or
                                  24                                    innovation plans as well as SIE business
                                                                           analysis regarding competitors’ and
                                  25                                 commercial partners’ behavior and products.
                                  26     Sony      PX3080 in its        Contains non-public and highly sensitive      GRANTED.
                                                     entirety        information about SIE’s business strategies,
                                  27                                competitive business plans, future investment
                                                                        plans, console and product development
                                  28                                 plans, product roadmaps, or innovation plans
                                                                       as well as SIE business analysis regarding
                                                                                    16
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                                                                       competitors’ and commercial partners’
                                   1                                            behavior and products.
                                         Sony        RX0700          Contains non-public and highly sensitive       GRANTED
                                   2                               information about SIE’s business strategies,         for the
                                                                  competitive business plans, future investment        reasons
                                   3                                  plans, console and product development         previously
                                                                  plans, product roadmaps, or innovation plans,     stated on the
                                   4                               SIE’s approach to contract negotiations with        record.
                                                                       third party partners and discussions of
                                   5                                  particular contract terms with particular
                                                                     partners, as well as SIE business analysis
                                   6                                  regarding competitors’ and commercial
                                                                           partners’ behavior and products.
                                   7     Sony        RX2069          Contains non-public and highly sensitive       GRANTED
                                                                   information about SIE’s business strategies,         for the
                                   8                              competitive business plans, future investment        reasons
                                                                      plans, console and product development         previously
                                   9                              plans, product roadmaps, or innovation plans      stated on the
                                                                    as well as SIE business analysis regarding         record.
                                  10                                   competitors’ and commercial partners’
                                                                                behavior and products.
                                  11     Sony        RX2163          Contains non-public and highly sensitive       GRANTED
                                                                   information about SIE’s business strategies,         for the
                                  12                              competitive business plans, future investment        reasons
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                                                                      plans, console and product development         previously
                                  13                              plans, product roadmaps, or innovation plans      stated on the
                                                                    as well as SIE business analysis regarding         record.
                                  14                                   competitors’ and commercial partners’
                                                                                behavior and products.
                                  15     Sony        RX2098          Contains non-public and highly sensitive       GRANTED
                                                                  information about SIE’s approach to contract          for the
                                  16                                 negotiations with third party partners and        reasons
                                                                   discussions of particular contract terms with     previously
                                  17                                particular partners as well as SIE business     stated on the
                                                                         analysis regarding competitors’ and           record.
                                  18                               commercial partners’ behavior and products.
                                         Sony        Specified       Contains non-public and highly sensitive        Not admitted
                                  19                portions of      information about SIE data, analysis, and      into evidence.
                                                     RX5000       survey results relating to SIE product strategy
                                  20                                   and platform users’ behavior on SIE’s
                                                                        platform, including user engagement,
                                  21                               gameplay, spend, likelihood of switching, or
                                                                   potential competitive impacts of Microsoft’s
                                  22                                 proposed acquisition of Activision, SIE’s
                                                                   approach to contract negotiations with third
                                  23                                party partners and discussions of particular
                                                                    contract terms with particular partners, the
                                  24                                     nature and scope of SIE’s technical
                                                                    collaboration with particular publishers, as
                                  25                                  well as SIE business analysis regarding
                                                                       competitors’ and commercial partners’
                                  26                                            behavior and products.
                                  27

                                  28
                                                                               17
